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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
vs.                                              )   CRIMINAL NO. 05-00332-CG
                                                 )
JASON JERMAINE HALL,                             )
                                                 )
       Defendant.                                )


                                            ORDER

       This matter is before the court on the motion of defendant, Jason Jermaine Hall, to

dismiss Count II for lack of jurisdiction(Doc. 42), and the United States’ response thereto (Doc.

57). The court finds that 18 U.S.C. § 922(q)(2)(A) is constitutional. Therefore, defendant’s

motion to dismiss is due to be DENIED.

       Defendant is charged in Count II with knowingly possessing “in or affecting commerce

three (3) firearms ... within a distance of 1,000 feet from the grounds of Maryvale Elementary

School, a place the defendant knew or had reasonable cause to believe was a school zone” in

violation of 18 U.S.C. § 922(q)(2)(A). (Doc. 1). Defendant challenges the constitutionality of §

922(q)(2)(A). Defendant correctly states that the prior version of 922(q) was found to be

unconstitutional by the Supreme Court. The Supreme Court found that Congress had exceeded

its Commerce Clause authority. U.S. v. Lopez, 514 U.S. 549, 115 S.Ct. 1624, 131 L. Ed. 2d 626

(1995). The prior version of 922(q) made it a crime “for any individual knowingly to possess a

firearm at a place that the individual knows or has reasonable cause to believe is a school zone.”

The Supreme Court found that the former “[s]ection 922(q) is a criminal statute that by its terms

has nothing to do with ‘commerce’ or any sort of economic enterprise, however broadly one
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might define those terms.” Lopez, 514 U.S. at 560, 115 S.Ct. at 1630-31. Unlike the current

version, the prior statute did not require that the firearm “has moved in or that otherwise affects

interstate or foreign commerce.” 18 U.S.C. § 922(q)(2)(A). “This new version of § 922(q)

resolves the shortcomings that the Lopez Court found in the prior version of this statute because

it incorporates a jurisdictional element which would ensure, through case-by-case inquiry, that

the firearm possession in question affects interstate commerce.” United States v. Dorsey, 418

F.3d 1038, 1046 (9th Cir. 2005) (quoting Lopez supra, internal quotations omitted). “This

jurisdictional element saves § 922(q) from the infirmity that defeated it in Lopez.” Id. (citing

United States v. Morrison, 529 U.S. 598, 612, 120 S.Ct. 1740, 146 L.Ed.2d 658 (2000) and

Scarborough v. United States, 431 U.S. 563, 575, 97 S.Ct. 1963, 52 L.Ed.2d 582 (1977)); see

also U.S. v. Danks, 221 F.3d 1037, 1039 (8th Cir. 1999) (finding that the amended statute is

constitutional because it “contains language that ensures, on a case-by-case basis, that the

firearm in question affects interstate commerce.”). This court agrees with the Dorsey and Danks

courts and finds that § 922(q) is constitutional.

                                          CONCLUSION

       For the reasons stated above, the motion of defendant, Jason Jermaine Hall, to dismiss

Count II (Doc. 42) is DENIED.

       DONE and ORDERED this 22nd day of March, 2006.


                                               /s/ Callie V. S. Granade
                                               CHIEF UNITED STATES DISTRICT JUDGE
